Case 1:24-cv-00234-SEB-TAB Document 31 Filed 10/02/24 Page 1 of 1 PageID #: <pageID>




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

   DUSTIN T. CHADWICK,                                 )
                                                       )
                                    Plaintiff,         )
                                                       )
                               v.                      )       No. 1:24-cv-00234-SEB-TAB
                                                       )
   ZANE HENNIG Greenwood Police Officer,               )
   JASON HOLTZLEITER Greenwood Deputy                  )
   Chief,                                              )
                                                       )
                                    Defendants.        )


                                The Honorable Sarah Evans Barker, Judge
                                       Entry for October 2, 2024

          This cause is hereby ASSIGNED for final pretrial conference on Tuesday, January 20,

   2026, at 2:00 p.m. in Room 216 of the United States Courthouse in Indianapolis, Indiana and for

   a jury trial on Monday, February 2, 2026, at 9:30 a.m. in Room 216 of the United States Courthouse

   in Indianapolis, Indiana.




   Distribution:

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